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                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF INDIANA
                                NEW ALBANY DIVISION

 In re:                                                 )   Chapter 11
                                                        )
 EASTERN LIVESTOCK CO., LLC,                            )   Case No. 10-93904-BHL-11
                                                        )
                      Debtor.                           )

    NOTICE OF SUBMISSION OF WITHDRAWAL OF TRUSTEE'S OBJECTION TO
               CLAIM 435 FILED BY BYNUM RANCH COMPANY

               On January 27, 2014, James A. Knauer, the chapter 11 trustee appointed in this

 case ("Trustee"), filed the Trustee's Motion To Approve Compromise And Settlement With Bynum

 Group [Docket No. 2472], requesting the Court's order approving a compromise and settlement

 with Bynum Ranch Company, Bobby and Debby Bynum, Frank Powell, Johnny Mayo, Bill

 Davis and Davis Quarter Horse.

               On February 19, 2014, the Court entered the Order Granting Trustee's Motion To

 Approve Compromise And Settlement With Bynum Group [Docket No. 2490] approving the

 settlement.

               As a result, and pursuant to the terms of the approved settlement, the Trustee

 hereby withdraws his objection [Trustee's Objection To Claim 435 Filed By Bynum Ranch

 Company; Docket No. 2097] to proof of claim #435 filed by Bynum Ranch Company.
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                                                  Respectfully submitted,

                                                  FAEGRE BAKER DANIELS LLP


                                                    By:         /s/ Dustin R. DeNeal

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on March 24, 2014, a copy of the foregoing pleading was filed
 electronically. Notice of this filing will be sent to the following parties through the Court's
 Electronic Case Filing System. Parties may access this filing through the Court's system.

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          I further certify that on March 24, 2014, a copy of the foregoing pleading was mailed by
 first-class U.S. Mail, postage prepaid and properly addressed, to the following:

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